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                                                                                                                         FILED
                                                                                                                  2023 JAN 17 PM 12:03
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case                                                                        CLERK
                                                                                                                  U.S. DISTRICT COURT

                                             UNITED STATES DISTRICT COURT
                                                                            for the

                                                                          District of                       Case: 2:23−cv−00037
                                                                                                            Assigned To : Jenkins, Bruce S.
                                                                                                            Assign. Date : 1/17/2023
                                                                              Division                      Description: Kamp v. Dehlin et al

                                                                              )         Case No.
                                                                              )                        (to be filled in by the Clerk’s Office)
                   Jennifer Ruth Kamp
                                                                              )
                               Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint. If
                                                                              )
the names of all the plaintiffs cannot fit in the space above, please         )         Jury Trial: (check one)      ☐ Yes ☐ No
write “see attached” in the space and attach an additional page               )                                            X
with the full list of names.)
                                                                              )
                                   -v-
                                                                              )
                                                                              )
                                                                              )
                                                                              )
       John Dehlin, Clint Martin & Keri Witbeck                               )
                              Defendant(s)
                                                                              )
(Write the full name of each defendant who is being sued. If the              )
names of all the defendants cannot fit in the space above, please             )
write “see attached” in the space and attach an additional page
with the full list of names.)




                                                   COMPLAINT FOR A CIVIL CASE

I.          The Parties to This Complaint
            A.        The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
            needed.
                                Name                                      Jennifer Kamp
                                Street Address                            2246 W Surrey Road
                                City and County                           Taylorsville, Salt Lake County
                                State and Zip Code                        Utah, 84129
                                Telephone Number                          801-580-0566
                                E-mail Address                            jenniferruthkamp@gmail.com




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            B.       The Defendant(s)

                Provide the information below for each defendant named in the complaint, whether the defendant is an
        individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if known). Attach additional pages if needed.
                     Defendant No. 1
                                Name                        John Dehlin
                                Job or Title (if known)     Registered Agent of Open Stories Foundation
                                Street Address              1828 Gundersen Lane
                                City and County             Salt Lake City, Salt Lake County
                                State and Zip Code          Utah 84124
                                Telephone Number            435-881-5809
                                E-mail Address (if known)   johndehlin@gmail.com


                     Defendant No. 2
                                Name                        Clint Martin
                                Job or Title (if known)     Open Stories Foundation Board Member
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number            801-372-1713
                                E-mail Address (if known)   4kcars@gmail.com


                     Defendant No. 3
                                Name                        Keri Witbeck
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number            435-232-9876
                                E-mail Address (if known)   kwitbeck@controlbyweb.com


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address

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                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


II.         Basis for Jurisdiction

        Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the         parties.
Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties       is a federal
question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of      another State or nation
and the amount at stake is more than $75,000 is a diversity of citizenship case. In a       diversity of citizenship case, no
defendant may be a citizen of the same State as any plaintiff.

            What is the basis for federal court jurisdiction? (check all that apply)
                  X Federal question                                ☐ Diversity of citizenship
                  ☐


            Fill out the paragraphs in this section that apply to this case.

            A.       If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
            are at issue in this case.
                            41 u.s. code § 6503 Breach or violation of required contract terms.




            B.       If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)     Jennifer Kamp                               , is a citizen of the
                                           State of (name)   Utah                                           .


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                 , is incorporated
                                           under the laws of the State of (name)                                                         ,
                                           and has its principal place of business in the State of (name)
                                                                                             .



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                             (If more than one plaintiff is named in the complaint, attach an additional page providing the
                     same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)       John Dehlin                           , is a citizen of
                                           the State of (name)     Utah                                  . Or is a citizen of
                                            (foreign nation)                                       .


                                b.         If the defendant is a corporation
                                           The defendant, (name)                                         , is incorporated under
                                           the laws of the State of (name)                                          , and has its
                                           principal place of business in the State of (name)                                       .
                                           Or is incorporated under the laws of (foreign nation)                                    ,
                                           and has its principal place of business in (name)                                        .

                             (If more than one defendant is named in the complaint, attach an additional page providing the
                     same information for each additional defendant.)

                     3.         The Amount in Controversy

                             The amount in controversy−the amount the plaintiff claims the defendant owes or the amount at
                     stake−is more than $75,000, not counting interest and costs of court, because (explain):
                                          $254,430.00




III.        Statement of Claim

        Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including  the
dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and         write a
short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
                   Please see attached, thank you.




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IV.         Relief

       State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include       the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive money
damages.
            Intentional harm: $100,000.00, Sexual Harassment: $50,000.00, Discrimination of Pay: $19,360.00, Unpaid Work
            Hours: $16,070.00, Retaliation/Wrongful Termination: $49,000.00, Defamation/Slander: $20,000.00
            Total: $254,430.00

            *See attached for further breakdown



V.          Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a                nonfrivolous
argument for extending, modifying, or reversing existing law; (3) the factual contentions have        evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the                  requirements of Rule 11.

            A.       For Parties Without an Attorney

                 I agree to provide the Clerk’s Office with any changes to my address where case−related papers may be
         served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

                     Date of signing:              1/17/2023


                     Signature of Plaintiff                Jennifer Ruth Kamp
                     Printed Name of Plaintiff        Jennifer Ruth Kamp

            B.       For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
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                     Telephone Number
                     E-mail Address




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